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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              BRIDGEPORT DIVISION


In re                                                             Chapter 11

HO WAN KWOK                                                       Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,                                                  Re: ECF No. 4237

                      Debtor.



     ORDER GRANTING UNITED STATES TRUSTEE’S UNOPPOSED MOTION FOR
    EXTENSION OF TIME FOR THE UNITED STATES TRUSTEE AND THE OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS TO FILE A RESPONSE/OBJECTION TO
     SEVENTH INTERIM FEE APPLICATION OF PAUL HASTINGS, LLP (ECF 4157)

        The United States Trustee having moved for an extension of time to 4:00 p.m. on Friday,

March 21, 2025 for the United States Trustee and the Official Committee of Unsecured Creditors

(“Committee”) to respond and/or object to the Seventh Interim Fee Application of Paul Hastings,

LLP (ECF 4157) (“PH Fee Application”) and the Court having considered the relief requested

and found cause to approve same, it is hereby

        ORDERED that the deadline for the United States Trustee and the Committee to file

responses and/or objections to the PH Fee Application is extended until 4:00 p.m. on March 21,

2025.


            Dated at Bridgeport, Connecticut this 20th day of March, 2025.
